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THE UN|TED STATES DlSTR|CT COURT
FOR THE MlDDLE DlSTR|CT OF PENNSYLVAN|A

RAMON MONTES DE OCA, ET AL.,

Plaintiff, :
V. : 3:CV-17-0837
' (JUDGE MARlANl)
lGNAClO BEATO,

Defendant.

lT lS HEREBY ORDERED THAT:

1. A Case Management Conference will be conducted by the Court on April 19,
2018 at 10:30 a.m. ln the interest of economy, the Court prefers to hold these conferences by
telephone The placement of the telephone conference call is the responsibility of the
plaintiff(s). The telephone number of the Court is (570) 207-5750.

2. The purpose of this Case Management Conference is to discuss all aspects of this
case, including any pending motions, as well as a schedule for (a) the completion of
discovery, (b) amendment of pieadings, (c) joinder of parties, (d) filing of motions, (e)
counsel's compliance with the disclosure requirements of Rule 7.1 of the Federal Ru|es of
Civi| Procedure; and (f) trial. Presently, joinder of third-party defendants is governed by Local
Ru|es 14.1 and 14.2; amendment of pleadings and supplemental pleadings by Fed.R.Civ.P.
15; the filing of pretrial motions by Local Rule 7.1; and the closing of discovery by Local Rule
26.4. Unless modified at the Case Management Conference, these rules will continue to
apply. The subjects for consideration at the Case l\/lanagement Conference will also include
those matters set forth in Fed.R.Civ.P. 16(b) and (c), in addition to the following:

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(a) Whether, during discovery, the parties will exchange documents in digital format;
whether there are any issues as to the format to be used, including whether meta data will be
requested, and whether there are any issues as to the alteration of documents that may
routinely occur when paper documents are converted to digital format.

(b) Whether the parties contemplate the use of any photographs in digital format and
whether there are any issues as to how and when digital alteration of photos is to be
disclosed.

(c) Whether the parties plan to create and exchange video in digital format, as
well as the arrangements for the synchronization of the audio and video of any videotaped
depositions in digital format that may be shown at trial.

(d) Whether there are any issues as to the discovery of digital materials other
than those identified in subparagraphs (a) through (c) above (such as database), and whether
the parties have agreed on ground rules for the routine business practices that affect the
retention of these digital materia|s.

3. lt is required that, prior to the Case Management Conference, the parties, at a
minimum, will have complied with the disclosure requirements of Fed.R.Civ.P. 26(a) so that a
reasonable discussion of the merits may take place during the Case Management
Conference as necessary

4. ln accordance with Fed.R.Civ.P. 26(f) and Local Rule 16.3, lead counsel for each
party shal|, as soon as practicable and in any event at least Hve (5) days prior to the Case
Management Conference, meet and discuss in good faith the matters set forth on the Joint
Case Management P|an, a copy of which is included in the Local Rules of Court and may be
obtained from the Clerk's Ofnce The completed Joint Case Management Plan must be nled
at least five (5) days prior to the Case Management Conference Sanctions may be imposed if
a party or a party's attorney fails to participate in good faith in the conference required by
Fed.R.Civ.P. 26(f) and Local Rule 16.3(a). See eg., Fed.R.Civ.P. 37(g)

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5. lf the parties agree to refer this matter to a Magistrate Judge for pretrial and trial
purposes, they should notify the Court in writing no later than three (3) days before the
scheduled Case Management Conference, and the conference will be cancelled. The case
will then be referred to a Magistrate Judge who will re-schedu|e the Case Management
Conference

6. |n accordance with Fed.R.Civ.P. 16(c) and Local Rule 16.2, at least one of the
attorneys for each party participating in the Case Management Conference shall be familiar
with the case; shall have authority to enter into stipulations and to make admissions regarding
all matters that the parties reasonably anticipate may be discussed; and shall have complete
settlement authority, lf an attorney does not have complete settlement authority, the party or
person with full settlement authority shall be available by telephone Counsel is responsible
for notifying the person with settlement authority of the requirements of Local Rule 16.2, as
well as the date of the Case Management Conference

7. lt is the affirmative duty of both counsel and the Court to avoid undue cost or delay in
litigation Counsel should be familiar with the Expense and Delay Reduction Plan adopted by
the United States District Court for the l\/liddle District of Pennsylvania, and are expected to
comport themselves in a manner intended to secure the just, speedy and inexpensive
determination of this action.

8. The Court has implemented an "Electronic Case Filing (ECF)" system. This system
enables counsel to tile and docket pleadings, motions, briefs, etc. directly fromtheir offices via
the internet. information on the Court's ECF system can be obtained at the Court's websitel
www.pamd.uscourts.gov. Counsel are directed to familiarize themselves with the Court's ECF
system. Effective September 3, 2003, counsel may be required to show cause why they
should not be required to nle documents through the ECF system. Use of the system may be

discussed at the Case Management Conference

 

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9. P|ease note that the preferred way of submitting correspondence to this Court is to

tile all correspondence through the Electronic Case Filing System.

Robe D. Mariani
United States District Judge

Date ib 13

